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         EXHIBIT A
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 1            Plaintiff Lori Dunlap (“Plaintiff”) alleges the following upon information and belief based

 2     upon investigation of counsel, except as to her own acts, which she alleges upon personal knowledge:

 3                                           I.     INTRODUCTION

 4            1.      Plaintiff is completely blind, but wants very much to contribute to society. She would

 5     like to apply for a position with Defendant Victoria’s Secret Stores Brand Management, Inc. but was

 6     unable to do so because, as detailed herein, Defendant’s online job application system is inaccessible

 7     to blind individuals.

 8            2.      Plaintiff’s experience is not unique. The blind, or visually-impaired, face daunting

 9     challenges in all aspects of their lives, and obtaining and retaining employment is one of the greatest

10     difficulties they face. Indeed: “People with vision loss experience a rate of unemployment that far

11     exceeds that of the general population. The American Federation of the Blind reports that in

12     September 2010, the most recent period for which there is data, 75 percent of the estimated 4 million

13     adults in the U.S. who are completely or partially blind are not in the labor force.”

14     (http://work.chron.com/high-rate-unemployment-blind-14312.html.)

15            3.      Many of the difficulties faced by the blind in finding employment have their genesis

16     with misconceptions and resistance on the part of potential employers. Specifically: “‘Among hiring

17     managers, most respondents (54 percent) felt there were few jobs at their company that blind

18     employees could perform, and 45 percent said accommodating such workers would require

19     `considerable expense.’” The reality is that a blind person can do any job that involves a computer,

20     and there are a slew of adaptive tech toys that make most jobs accessible, such as a portable scanner to

21     read printed material. As for the purported expense, according to the American Foundation for the

22     Blind, most accommodations cost less than $1,000, a negligible amount for a serious business.” (Belo

23     Cipriani, Hiring Blind: The Misconceptions Facing America’s Visually Impaired Workforce, Braille

24     Monitor, July 2013, https://nfb.org/images/nfb/publications/bm/bm13/bm1307/bm130711.htm.)

25            4.      In sum, many visually-impaired citizens are clearly employable and are willing and

26     able to make contributions to society, but many employers continue to throw up obstacles to prevent

27     the blind from seeking, and then finding, meaningful employment. As detailed herein, Plaintiff is one

28     of those visually impaired people who want to enter the workforce but have not been able to. Plaintiff

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1    has encountered a variety of roadblocks in her efforts to find employment, including her effort to apply

2    for a job with Defendant.

3           5.      Despite Plaintiff’s efforts, Defendant’s job application system remains inaccessible to

4    blind individuals. Unfortunately, multiple requests from Plaintiff for Defendant to make its job

5    application process accessible to blind individuals have been ignored.

6           6.      Defendant’s failure to enter an interactive process with Plaintiff violates California law.

7    Specifically, under California’s Fair Employment and Housing Act (“FEHA”), employers are

8    obligated to “initiate an ‘interactive process’ when a disabled prospective employee requests

9    reasonable accommodations.            (https://www.dfeh.ca.gov/reasonable-accommodation/.)      And that

10   process must be initiated “timely.” (See 2 Cal. Code of Regs. § 11069.) Failure to engage in this

11   process is unlawful in itself. (Cal. Government Code § 12940(n); Claudio v. Regents of the University

12   of California (2005) 134 Cal.App.4th 224, 243.)

13          7.      Here, Defendant has refused to enter the requisite interactive process by making its

14   online hiring service accessible to Plaintiff, and has ignored Plaintiff’s three written requests to do so.

15   Under these circumstances, Plaintiff has no choice but to bring this lawsuit.

16                                   II.       JURISDICTION AND VENUE

17          8.      This Court has subject matter jurisdiction over this action. This Court has personal

18   jurisdiction over Defendant because it conducted and continues to conduct substantial business in the

19   State of California.

20          9.      Venue is proper in this Court because Defendant conducts substantial business in this

21   County, and because a substantial portion of the wrongdoing alleged herein occurred in this County.

22                                                 III.   PARTIES

23          10.     Plaintiff, an adult resident of California, is permanently and totally blind. As such,

24   Plaintiff uses a “screen reader” when operating a computer. A “screen reader” is a software program

25   that allows blind users to read the text that is displayed on the computer screen with a speech

26   synthesizer and operates as the interface between the computer’s operating system, its applications,

27   and it speaks automatically when changes occur on the computer screen.

28   ///

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1            11.     Defendant Victoria’s Secret Stores Brand Management, Inc. is a Delaware corporation

2    with its principal place of business located in Ohio. Defendant owns, operates, and/or controls the

3    website at www.victoriassecret.com (“The Website.”).

4            12.     The true names and capacities of the Defendants sued herein as DOES 1 through 10,

5    inclusive, are currently unknown to Plaintiff, who therefore sues such Defendants by fictitious names.

6    Each of the Defendants designated herein as a DOE is legally responsible for the unlawful acts alleged

7    herein. Plaintiff will seek leave of Court to amend this Complaint to reflect the true names and

8    capacities of the DOE Defendants when such identities become known.

9                                                   IV.      FACTS

10           A.      Background of the Online Job Postings.

11           13.     The Internet has become a significant source of information, a portal and tool for

12   conducting business, recruiting prospective employees, advertising job openings, and providing an

13   efficient and cost-effective method for applicants to submit job applications for both the sighted and

14   blind, and/or visually-impaired persons. According to data gathered and analyzed by the Statistic

15   Brain Research Institute (www.statisticbrain.org), over 4,000,000 job positions are posted online each

16   month and over 18,000,000 Americans are hired via online job postings every year. In fact, 35.5% of

17   all jobs are filled via postings on the internet.

18           B.      The Importance of Access to Online Job Postings for the Visually Impaired.

19           14.     As noted above, “75 percent of the estimated 4 million adults in the U.S. who are

20   completely or partially blind are not in the labor force” (http://work.chron.com/high-rate-

21   unemployment-blind-14312.html). Because the employment application process has largely migrated

22   online in recent years, it has become extremely important to ensure that individuals with disabilities

23   who want to enter the workforce, including the visually impaired, be able to apply online for positions.

24           15.     Indeed, the United States Department of Justice (“DOJ”) has publicly posted a written

25   statement entitled “Ensuring Access to Jobs for People with Disabilities”, which states in relevant part:

26           “Americans with disabilities can face many unnecessary barriers to employment, both
             during the job application process and on the job. These barriers can prevent people
27           with disabilities from finding and maintaining a job, receiving promotions and
             ultimately being economically self-sufficient and independent.
28

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            During the job application process, applicants with disabilities may not want to
1           disclose their disabilities to potential employers for a number of reasons, including the
            risk that the employer would refuse to hire them because of their disability. Sometimes
2           employers stereotype people with disabilities or take adverse employment actions
            because of misinformation or ignorance about certain health conditions. Having to
3           disclose a disability can deter people with disabilities even from applying for jobs out
            of fear of discrimination.
4
            Recognizing these real risks, Title I of the Americans with Disabilities Act (ADA) makes
5           it unlawful for an employer to ask about whether an applicant has with a disability or
            about the nature of such disability before making a conditional offer of employment. . . .
6
            Today, many job applications are completed online. Another barrier to employment
7           faced by some people with disabilities, such as those who are blind or have low vision,
            are deaf or hard of hearing, or have physical disabilities affecting manual dexterity
8           (such as limited ability to use a mouse), is that online job applications are not fully
            accessible to them. Individuals with these disabilities use assistive technology, such as
9           screen reading software and captions, to access online information. But websites need
            to be designed to work with these technologies. Without the ability to access a job
10          application, people with disabilities will not even have the opportunity to apply for a
            job in the first place. Several investigations conducted by the department found that the
11          public entity’s online employment opportunities website or job applications were not
            fully accessible to people with disabilities. To resolve these violations, the entities must
12          ensure that their online employment opportunities website and job applications
            comply with the Web Content Accessibility Guidelines 2.0, which are industry
13          guidelines for making web content accessible.
14          Ensuring that job applications are free from unlawful questions and accessible to all
            applicants is essential to enable people with disabilities to find work and advance in
15          their jobs. With equal access to employment, hardworking Americans with disabilities
            can contribute as valued members of the workforce, and both justice and economic
16          advancement are served.” (https://www.justice.gov/archives/opa/blog/ensuring-access-
            jobs-people-disabilities (last visited April 9, 2018).)
17

18          16.     Screen access software provides the only method by which Plaintiff can independently

19   access the internet. Thus, unless websites are designed to be read by screen reading software, Plaintiff

20   and other blind persons are unable to fully access websites and the information and services contained

21   thereon.

22          17.     As noted in the DOJ statement, the international website standards organization, W3C,

23   has published version 2.0 of the Web Content Accessibility Guidelines (“WCAG 2.0”). WCAG 2.0

24   are well-established guidelines for making websites accessible to blind and visually-impaired people.

25   These guidelines are successfully followed by numerous large business entities to ensure their

26   websites are accessible. These guidelines recommend several basic components for making websites

27   accessible including, but not limited to: adding invisible alternative text to graphics; ensuring that all

28   functions can be performed using a keyboard and not just a mouse; ensuring that image maps are

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1    accessible; and adding headings so that blind people can easily navigate websites. Without these very

2    basic components, a website will be inaccessible to a blind or visually-impaired person using a screen

3    reader.

4              C.    The Inaccessibility of Defendant’s Website to the Visually Impaired.

5              18.   Defendant is an American fashion retailer with stores throughout the United States. Its

6    flagship brands include Victoria's Secret and Bath & Body Works. Its revenues exceed $10 billion per

7    year.

8              19.   Defendant’s website encourages jobseekers to apply, stating “Our associates are the key

9    to delivering this amazing experience for our customer and we hire the very best who are passionate

10   about our brand and our products.         See https://www.victoriassecret.com/careers.   In this regard,

11   Defendant uses The Website to recruit potential employees, advertise about specific employment

12   opportunities, and enable applicants to apply for employment online.

13             20.   Plaintiff is qualified for one the many categories of employment advertised on The

14   Website and wanted to explore The Website and apply for a position, or even multiple positions, as

15   appropriate. Unfortunately, when she attempted to access The Website with her screen reader, she

16   encountered numerous barriers that prevented her from reviewing positions available, and then

17   applying for those positions.

18             21.   The Website includes multiple barriers that prevented Plaintiff from learning about and

19   applying for a job, including: (1) missing form labels, which prevents the purpose of a label from

20   being presented to blind individuals; (2) empty buttons with no value text, which prevents the purpose

21   of the button from being presented; (3) empty links, which prevents the function of the link from being

22   presented; (4) skipped headings, which cause a page to be presented as unstructured and confusing;

23   and (5) orphaned form labels, which prevents the functionality of the label from being displayed.

24             22.   These errors on The Website, and others like them, operated as a barrier to Plaintiff’s

25   attempt to navigate The Website, learn the details of available positions, and submit an employment

26   application to the Defendant. If the website were accessible, Plaintiff would have privately and

27   independently investigated Defendant’s work opportunities and relevant information about Defendant

28   just as sighted individuals can and do.

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1           D.       Plaintiff’s Efforts to Engage Defendant in an Interactive Process.

2           23.      In March of 2018, Plaintiff made her first request for a reasonable accommodation to

3    enable her to submit a job application to Defendant. Specifically, her counsel wrote:

4           This law firm represents a blind Californian named Lori Dunlap who wants to re-enter the workforce and
            is willing to relocate.            Our client attempted to submit a job application to you
5           https://www.victoriassecret.com/careers but was unable to do so – despite making best efforts – because
            your website is largely inaccessible to blind individuals (confirmed by the Web Accessibility Evaluation, or
6           “WAVE” Tool). . . .
7           We urge you to promptly remediate these barriers. . .
8           24.      Defendant did not respond to Plaintiff’s first request for accommodation.
9           25.      On April 2, 2018, Plaintiff made her second request for reasonable accommodation.
10   Specifically, her counsel wrote:
11
                        Last week I wrote to you on behalf of my client, Lori Dunlap. She wants to re-enter
12                the workforce and tried to apply for an open service position with you through your
                  corporate website, but was unable to do so because she is blind and because your website
13                contains barriers to blind people. I requested that you accommodate her by removing the
                  barriers on your website and offered to provide you with a summary of the barriers.
14
                         I did not hear back from you, and my client still can’t navigate your website to
15                submit an application for a position for which he is qualified. It is simple and inexpensive
                  to make your website accessible to blind job applications – in fact, the National
16                Foundation for the Blind’s website has a “tool kit” that shows how:
                  http://www.afb.org/info/accessibility/afb-accessibility-resources/23.
17
                        My client is a hard worker who would be an asset to your company. Thus, I am
18                again requesting that you promptly remove those barriers for her so that she can submit an
                  application like everyone else.
19
                        Thank you for your consideration, and please contact me if you have any questions
20                or need additional information.

21          26.      For a second time, Defendant did not respond to Plaintiff’s second request for
22   reasonable accommodation.
23          27.      A few days later, Plaintiff made her third and final impassioned plea for Defendant to
24   enable her to apply for a job or, at the very least, engage in the interactive process with her:
25
                      A few days ago, I requested your help in enabling a blind woman named Lori Dunlap
26                to apply for an open entry-level position with you. The position is one of many being
                  advertised on your website and is one for which she is well-qualified. I did not get a
27                response, so I am following up.

28                The United States Department of Justice has stated that “Work is a fundamental part of
                  adult life for people with and without disabilities. It provides a sense of purpose, shaping
                  who we are and how we fit into our community. Meaningful work – being a contributing
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                  part of society – is essential to people’s economic self-sufficiency, as well as self-esteem
1                 and well-being.” Unfortunately, It is estimated that only 34 percent of working age
                  American citizens with disabilities like my client are employed – compared to 75 percent of
2                 their non-disabled peers. You can help change that!
3                    My client is permanently and totally blind; as such, she uses a “screen reader” when
                  operating a computer. A “screen reader” is a software program that allows blind users to
4                 read the text that is displayed on the computer screen with a speech synthesizer and
                  operates as the interface between the computer’s operating system, its applications, and it
5                 speaks automatically when changes occur on the computer screen.
6                     Most companies’ websites are configured in a way to enable blind people using screen
                  readers to navigate the site. Yours is not; as a result, she cannot navigate your website to
7                 learn more about open positions or apply for the position online, like your website
                  recommends.
8
                       I can give you a summary of the problems. I will even give you a referral to an expert
9                 who can help you remove the barriers in just a few hours’ time. I don’t know why you
                  have not responded. If you need any more information about her disability, her request for
10                accommodation, or documentation of her disability, just let me know.
                       Please do the right thing and immediately remove the barriers and/or contact me to
11                initiate the interactive process.
12          28.      For the third time, Defendant ignored Plaintiff.

13          29.      Plaintiff thus has ignored Defendant’s three clear, written requests for accommodation

14   and to engage in the interactive process. As such, Defendant has denied Plaintiff’s request for

15   accommodation without investigating it and without engaging in the interactive process.

16          30.      Plaintiff understood Defendant’s message loud and clear: she and other blind applicants

17   are not welcome to apply for a job with Defendant. As such, Plaintiff has moved on in her job search.

18          31.      Based on information and belief, as well as Plaintiff’s personal experience as described

19   above, it is Defendant’s policy and practice to deny blind individuals, including Plaintiff, equal access

20   to employment by refusing to remove communication barriers to blind individuals that are contained

21   on The Website. As such, Plaintiff has been and is being denied equal access to the information

22   concerning specific work opportunities offered to non-disabled individuals and is being prevented

23   from submitting an application for employment to Defendant.

24          32.      Plaintiff filed an administrative charge of discrimination with the appropriate state

25   agency in California, the Department of Fair Employment and Housing, within the statutorily

26   prescribed time limit, and on April 19, 2018, received an immediate-right-to-sue notice.           Thus,

27   Plaintiff has exhausted all applicable administrative remedies.

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1           33.     Notwithstanding anything to the contrary herein, Plaintiff does not allege any claims

2    arising under any federal law or regulation or under the Constitution of the United States.

3                                         V.      CAUSES OF ACTION

4                                         FIRST CAUSE OF ACTION

5        Violation of California’s Fair Employment and Housing Act, Cal. Gov’t Code § 12940(m)

6                                     (By Plaintiff Against All Defendants)

7           34.     Plaintiff incorporates by this reference the allegations contained in the preceding

8    paragraphs above as if fully set forth herein.

9           35.     “It is an unlawful employment practice” “[f]or an employer or other entity covered by

10   this part to fail to make reasonable accommodation for the known physical . . . disability of an

11   applicant . . . . (Cal. Gov’t Code § 12940(m)(1).)

12          36.     Employers who engage in recruiting activities must consider individuals on an “equal

13   basis” for all jobs. (2 Cal. Code of Regs. § 11070(a)(1).)

14          37.     “It is unlawful to advertise or publicize an employment benefit in any way that

15   discourages or is designed to discourage applicants with disabilities from applying to a greater extent

16   than individuals without disabilities.” (2 Cal. Code of Regs. § 11070(a)(2).)

17          38.     “An employer or other covered entity must consider and accept applications from

18   applicants with or without disabilities equally.” (2 Cal. Code of Regs. § 11070(b)(1).)

19          39.     The FEHA requires liberal construction of its provisions to accomplish its purposes.

20   (Cal. Gov’t Code § 12993(a); see also Richards v. CH2M Hill, Inc. (2001) 26 Cal.4th 798, 819.)

21          40.     After amending the FEHA in 1992, the California Legislature made clear that its

22   provisions must be construed to provide disabled persons with the greatest protection available under

23   either state or federal law. Specifically, the Legislature declared its intent “to strengthen California law

24   in areas where it is weaker than the [Disabilities Act] and to retain California law when it provides

25   more protection for individuals with disabilities than the [Disabilities Act].” (Stats. 1992, ch. 913, § 1,

26   p. 4282; see also Colmenares v. Braemar Country Club, Inc. (2003) 29 Cal.4th 1019, 1026.) In 2000,

27   the Legislature also declared: “Although the federal act provided a floor of protection, this state’s law

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1    has always, even prior to passage of the federal act, afforded additional protections.” (Cal. Gov’t Code

2    § 12926.1(a).)

3            41.      Defendant has violated FEHA by failing to make reasonable accommodation for

4    Plaintiff’s known and obvious physical disability, her blindness. Likewise, Defendant has failed to

5    make any attempt to show that the requested accommodation would impose an undue hardship on

6    Defendant. As set forth herein, Defendant has, for all intents and purposes, deliberately refused to

7    engage in any effort to accommodate Plaintiff.

8            42.      Defendant has engaged in recruiting activities and encourages applicants to submit job

9    applications via its website, but has failed to consider Plaintiff on an “equal basis” for all jobs, unlike

10   individuals who are not visually impaired.

11           43.      Defendant has advertised its employment opportunities in a way that discourages and/or

12   is designed to discourage applicants with disabilities, especially blind applicants, from applying to a

13   greater extent than individuals without disabilities. Specifically, as detailed above, Plaintiff attempted,

14   unsuccessfully, to access The Website to explore possible employment with Plaintiff, and Defendant

15   has refused, and continues to fail and refuse, to make any effort to accommodate Plaintiff’s disability.

16           44.      In so doing, Defendant has failed to consider and accept applications from blind

17   applicants equally with applicants without disabilities.

18                                         SECOND CAUSE OF ACTION

19   FAILURE TO ENGAGE TIMELY IN INTERACTIVE PROCESS (Cal. Gov’t Code § 12940(n))

20                                     (By Plaintiff Against All Defendants)

21           45.      Plaintiff realleges and incorporates herein by reference each of the allegations set forth

22   above as if fully set forth herein.

23           46.      At all times herein mentioned, the FEHA, embodied in Government Code section

24   12940 was in full force and effect. This act requires that employers engage both employees and job

25   applicants known to have physical disabilities in a good faith, timely, interactive process.

26           47.      The interactive process is described by Title 2 California Code of Regulations, Section

27   11069, which provides, in relevant part, as follows: “Interactive Process. When needed to identify or

28   implement an effective, reasonable accommodation for an employee or applicant with a disability, the

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1    FEHA requires a timely, good faith, interactive process between an employer or other covered entity

2    and an applicant, employee, or the individual's representative, with a known physical or mental

3    disability or medical condition. Both the employer or other covered entity and the applicant, employee

4    or the individual's representative shall exchange essential information identified below without delay

5    or obstruction of the process. (2 Cal. Code of Regs. § 11069(a); emphasis added.)

6           48.     According to the online Collins dictionary, “If you describe an event as timely, it

7    happens exactly at    the   moment       when    it   is    most   useful,   effective,   or    relevant.”

8    (https://www.collinsdictionary.com/us/dictionary/english/timely; emphasis in original.)        The online

9    Merriam-Webster dictionary defines “timely” as “coming early or at the right time.”

10   (https://www.merriam-webster.com/dictionary/timely.)

11          49.     Here, nothing about Defendant’s conduct has been timely.          Plaintiff sent multiple

12   requests over a several week period to seek accommodation for her blindness, all of which Defendant

13   ignored. Indeed, Defendant even ignored an impassioned plea to simply engage in the interactive

14   process with Plaintiff.

15          50.     Defendant is a qualified employer subject to the requirements of FEHA.

16          51.     Defendant was aware that Plaintiff suffered from a disability. However, Defendant

17   ignored multiple requests for accommodation and refused to engage Plaintiff in the interactive process

18   in connection with her disability. Nothing Defendant did could be characterized as “timely.”

19          52.     As a result of Defendant’s failure to engage timely with Plaintiff in the interactive

20   process, Plaintiff was discriminated against based on her physical disability and was never provided

21   with a reasonable accommodation.

22          53.     Based on Defendant’s course of conduct, which was willful, malicious, knowing,

23   intentional, and in conscious disregard for Plaintiff’s rights, Plaintiff seeks an award of punitive and

24   exemplary damages in an amount according to proof at trial.

25                                      IV.     PRAYER FOR RELIEF

26          WHEREFORE, Plaintiff prays for judgment as follows:

27          1.      General and compensatory damages in a sum according to proof at time of trial;

28          2.      Consequential and incidental damages in a sum according to proof at time of trial;

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1            3.       Payment of Plaintiffs reasonable and actual attorney fees in a sum according to proof at

2    time of trial;

3            4.       For costs of suit herein incurred;

4            5.       Injunctive relief;

5            6.       Pre-judgment interest at the legal prevailing rate;

6            7.       Punitive and exemplary damages in a sum according to proof at time of trial; and

7            8.       For such other and further relief as the Court deems just and proper.

8

9    Dated: April 19, 2018                           PACIFIC TRIAL ATTORNEYS, APC
10
                                                     By:
11
                                                     Scott. J. Ferrell
12                                                   Attorneys for Plaintiff

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 1                                    DEMAND FOR JURY TRIAL

 2          Plaintiff hereby demands a trial by jury of all claims and causes of action so triable in this

 3   lawsuit.

 4

 5   Dated: April 19, 2018                      PACIFIC TRIAL ATTORNEYS, APC
 6
                                                By:
 7
                                                Scott. J. Ferrell
 8                                              Attorneys for Plaintiff

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